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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

UNITED STATES OF AMERICA,                            )
                                                     )
                       Plaintiff,                    )
                                                     )
       v.                                            ) Civil No. Case No. 8:17-cv-826-T26AEP
                                                     )
SAID RUM,                                            )
                                                     )
               Defendant.                            )

                   UNITED STATES’ SUPPLEMENTAL AUTHORITY
              IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT

       The United States submits this supplemental authority in response to the Court’s

invitation at oral argument to submit authority regarding the information this Court may review

in determining whether the Internal Revenue Service was arbitrary and capricious in setting the

amount of the FBAR penalty assessed against the defendant, Said Rum, for his failure to disclose

his foreign bank account.

       Although this Court determines de novo whether Mr. Rum is liable for the FBAR penalty

that the IRS has assessed against him, it reviews the amount of the penalty merely to determine

whether it is “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with

law,” 5 U.S.C. § 706(2)(A). (See discussion at Doc. 31 at 4, 14-15.) “In applying that standard,

the focal point for judicial review should be the administrative record already in existence, not

some new record made initially in the reviewing court.” Camp v. Pitts, 411 U.S. 138, 142

(1973); see also Preserve Endangered Areas of Cobb’s History, Inc. v. U.S. Army Corps of

Engineers, 87 F.3d 1242, 1246 (11th Cir. 1996) (“The focal point for judicial review of an

administrative agency’s action should be the administrative record.”).
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       The administrative record is limited to items considered by the agency before it took the

final action in question. See Preserve Endangered Areas of Cobb’s History, 87 F.3d at 1246-47

n.2 (observing that there is “nothing wrong with an agency compiling and organizing the

complete administrative record after litigation has begun from all the files of agency staff

involved in the agency action, as long as that record only contains documents considered by the

staff prior to the agency action”) (emphasis added). As a result, the Court may not consider

events that occurred after the IRS made its final determination of Mr. Rum’s FBAR penalty

amount, such as the later settlement of his income-tax-related civil fraud penalty in Tax Court, in

evaluating whether the IRS was arbitrary or capricious in setting the amount of the FBAR

penalty.

       Indeed, that principle of administrative review supports the United States’ interpretation

of the mitigation factor that Mr. Rum argues should have been applied in his favor. In addition

to three other factors noted in the Internal Revenue Manual, a person “may be subject to less than

the maximum FBAR penalty depending on the amounts in the person’s accounts,”

IRM 4.26.16.4.6.1(1) (July 1, 2008) at ADM003629 (available at Doc. 31-21 at 20) (emphasis

added), if the “IRS did not determine a fraud penalty against the person for an underpayment of

income tax for the year in question due to the failure to report income related to any amount in a

foreign account,” IRM Exhibit 4.26.16-2 (July 1, 2008) at ADM003636 (available at Doc. 31-21

at 27) (emphasis added). Mr. Rum wrongly argues that that factor should apply to him because,

after the IRS determined the amount of his FBAR penalty, he later settled a related income tax

liability in Tax Court with no civil fraud penalty. But the plain language of the IRM provision

speaks in terms of whether the IRS had determined a civil fraud penalty, not whether the Tax

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Court later determined (or in this case oversaw the settlement of) a civil fraud penalty.1 This

plain-language reading of the IRM provision synchronizes with the above principle that the

administrative record is limited to administrative activity prior to the decision. Both support

ignoring the later actions of the Tax Court here.

       In any event, even if Mr. Rum’s argument about the meaning of this mitigation factor

were correct, he still would not be entitled to a smaller penalty. As emphasized above, the IRM

provision in question uses the permissive “may,” and does not say that a person shall be entitled

to a smaller penalty if all the mitigation factors apply. Further, the IRM provides that a person

“may be subject to less than the maximum FBAR penalty depending on the amounts in the

person’s accounts” if the mitigation factors are met. IRM 4.26.16.4.6.1(1) (July 1, 2008)

at ADM003629 (available at Doc. 31-21 at 20) (emphasis added). For a person like Mr. Rum,

whose account exceeded $1 million, his violation is classified as Level IV under the IRM and

thus presumptively carries the maximum statutory penalty, even if all the mitigation factors

applied. See IRM 4.26.16.4.6.3(3)(d) (July 1, 2008) at ADM003631 (available at Doc. 31-21

at 22); IRM Ex. 4.26.16-2 (July 1, 2008) at ADM003637 (available at Doc. 31-21 at 28).

Mr. Rum’s arguments notwithstanding, the IRS’s decision to impose the statutory maximum

FBAR penalty against him (for the one year that the IRS chose to impose any penalty) was


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  Mr. Rum also points to the fact that another portion of the relevant IRM provision describes the
same mitigation factor in terms of whether “[t]he Service did not sustain a civil fraud penalty
against the person for an underpayment for the year in question due to the failure to report
income related to any amount in a foreign account.” IRM 4.26.16.4.6.1(2)(d) (July 1, 2008)
at ADM003629 (available at Doc. 31-21 at 20) (emphasis added). But whether “sustain” or
“determine” is used, the result is the same: the plain language of the IRM provision still speaks
in terms of whether the Internal Revenue Service had either sustained or determined a civil fraud
penalty, not in terms of anything the Tax Court might later do.
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consistent with the IRS’s internal guidelines as expressed in the IRM. In any event, and as

described in the United States’ motion for summary judgment (Doc. 31 at 15), the IRM lacks the

force of law and does not convey substantive rights upon taxpayers to challenge any alleged

failures of the IRS to follow its guidelines.

       This case does not present one of the extremely limited circumstances in which a court

might look at material outside the administrative record. The Eleventh Circuit has observed that

“[t]he Ninth Circuit has specified that a court may go beyond the administrative record only

where: 1) an agency’s failure to explain its action effectively frustrates judicial review; 2) it

appears that the agency relied on materials not included in the record; 3) technical terms or

complex subjects need to be explained; or 4) there is a strong showing of agency bad faith or

improper behavior.” Preserve Endangered Areas of Cobb’s History, 87 F.3d at 1246 n.1 (citing

Animal Def. Council v. Hodel, 840 F.2d 1432, 1436-37 (9th Cir. 1988), amended at 867 F.2d

1244 (9th Cir. 1989)). None of those limited situations apply here. In this case, review is

properly limited to the administrative record that was before the agency.2

       Finally, the arbitrary and capricious standard “is exceedingly deferential.” Fund for

Animals, Inc. v. Rice, 85 F.3d 535, 541 (11th Cir. 1996). A reviewing court may not overrule the

agency’s determination simply because the court would have reached a different result. See id.


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  As an initial matter, Mr. Rum’s challenge at the administrative level was limited to his claim
that his failure to report his foreign bank account was not willful. Mr. Rum never challenged the
IRS’s computation of the amount of the FBAR penalty during the examination or on
administrative appeal and, as a result, has waived that argument. But should the Court reach that
argument, the United States believes that the portions of the administrative record that have been
filed in support of the United States’ summary judgment motion provide ample support that the
IRS did not act arbitrarily or capriciously in setting the amount of Mr. Rum’s FBAR penalty. As
offered at oral argument, the United States will file a copy of the entire administrative record, if
the Court should wish it.
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at 542 (noting that “[a]dministrative decisions should be set aside in this context ... only for

substantial procedural or substantive reasons as mandated by statute, ... not simply because the

court is unhappy with the result reached.”) (alterations in original).

         WHEREFORE, the United States requests that the Court enter summary judgment in its

favor.

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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing United States’

Supplemental Authority in Support of Its Motion for Summary Judgment has been filed this 7th

day of June, 2019 with the Court via ECF, which will transmit an electronic copy to all counsel

of record.




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